
10 N.Y.3d 790 (2008)
PATRICIA PASQUA, Respondent,
v.
HANDELS-EN PRODUCTIEMAATSCHAPPIJ DE SCHOUW, B.V., Also Known as HANDELS-EN PRODUCTIEMAATSCHAPPIJ "DE SCHOUW" B.V., et al., Appellants, et al., Defendant.
Court of Appeals of the State of New York.
Submitted February 4, 2008.
Decided March 18, 2008.
Motion for leave to appeal dismissed upon the ground that the order sought to be appealed from does not finally determine the action within the meaning of the Constitution. Motion for a stay dismissed as academic.
